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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 INSTITUTIONAL SHAREHOLDER
 SERVICES INC.,

                                          PLAINTIFF,

 v.

 SECURITIES AND EXCHANGE
 COMMISSION and WALTER CLAYTON III                           NO. 1:19-cv-3275-APM
 in his official capacity as Chairman of the
 Securities and Exchange Commission,

                                      DEFENDANTS.


 JOINT STATUS REPORT AND REQUEST FOR ENTRY OF SCHEDULING ORDER
        Pursuant to this Court’s order of August 5, 2020, plaintiff Institutional Shareholder Services

Inc. (ISS) and defendants Securities and Exchange Commission et al. (collectively, SEC) respectfully

submit this joint status report and proposal for subsequent proceedings in this case.

        On October 31, 2019, ISS filed this action against the SEC, challenging an agency action

entitled Commission Interpretation and Guidance Regarding the Applicability of the Proxy Rules to Proxy Voting

Advice, 84 Fed. Reg. 47,416 (Sept. 10, 2019) (“Interpretation and Guidance”). ISS sought declaratory

and injunctive relief under the Administrative Procedure Act, alleging that the Interpretation and

Guidance is contrary to law, was issued without observance of the required procedures, and is arbitrary

and capricious.

        In November 2019, the SEC initiated a notice-and-comment rulemaking proceeding that,

among other things, proposed to codify and formalize the interpretations set forth in the

Interpretation and Guidance. See Proposed Rule, Amendments to the Exemptions From the Proxy Rules for

Proxy Voting Advice, 84 Fed. Reg. 66,518 (Dec. 4, 2019). The SEC subsequently filed an unopposed
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motion to hold this case in abeyance pending the promulgation of final rules, which this Court granted

on January 17, 2020.

        On July 22, 2020, the SEC issued final regulations in the pending rulemaking proceeding. See

Exemptions from the Proxy Rules for Proxy Voting Advice, Exchange Act Release No. 89372, available at

https://www.sec.gov/rules/final/2020/34-89372.pdf. The final regulations codify the interpretation

of the proxy rules set forth in the Interpretation and Guidance; impose certain conditions on the

exemptions from the proxy rules for proxy voting advice; and set forth an additional example of when

the SEC believes proxy advice may be considered “misleading” under Rule 14a-9. The final regulations

will have an effective date 60 days after publication in the Federal Register; publication will likely occur

within the next few weeks. Nearly all of the new regulations will take effect on that date (likely in

October or November). But the SEC adopted a compliance date of December 1, 2021 for the new

requirements that: (1) proxy advice provided by proxy advisers such as ISS include prominent

disclosures regarding conflicts of interest, and (2) proxy advisers such as ISS develop “written policies

and procedures” designed to ensure that proxy advice is made available to registrants and that proxy

advisers “provide clients with a mechanism by which the clients can reasonably be expected to become

aware of a registrant’s views about the proxy voting advice.”

        ISS and the SEC propose the following schedule for additional proceedings in this case. The

parties submit that this schedule would facilitate an orderly resolution of the important issues

presented by this case while still ensuring a prompt decision well in advance of the December 1, 2021

compliance date for the new conflict-of-interest and “written policies and procedures” requirements.

            •   ISS files amended complaint and motion for summary judgment by September 18,
                2020.

            •   SEC files certified index of administrative record by October 18, 2020.

            •   SEC files opposition to ISS’s summary judgment motion and cross-motion for
                summary judgment by October 30, 2020.


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            •   ISS files reply in support of its summary judgment motion and opposition to the SEC’s
                cross-motion for summary judgment by November 20, 2020.

            •   SEC files reply in support of cross-motion for summary judgment by December 9,
                2020.

            •   Hearing on cross-motions for summary judgment in December 2020 or January 2021
                with decision to follow as soon as feasible thereafter.

        The parties further agree that the SEC’s waiver of an answer shall not constitute an admission

of any of ISS’s allegations, or waiver of any argument or affirmative defense, in this litigation.

                                           CONCLUSION

        ISS and the SEC respectfully request that the Court enter a scheduling order as set forth above.




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                                       Respectfully submitted,

Dated: August 12, 2020                     s/Jeffrey M. Harris                         T

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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 12, 2020, I filed the foregoing document through the

CM/ECF system, thereby serving all counsel of record.


                                                     s/Jeffrey M. Harris                      T




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